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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA and
STATE OF NEW JERSEY,

                            Plaintiffs,

                     v.                                    No. 2:17-cv-04540-WB

DONALD J. TRUMP, in his official capacity as
President of the United States; ALEX M. AZAR II, in
his official capacity as Secretary of Health and Human
Services; UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; STEVEN T.
MNUCHIN, in his official capacity as Secretary of the
Treasury; UNITED STATES DEPARTMENT OF THE
TREASURY; RENE ALEXANDER ACOSTA, in his
official capacity as Secretary of Labor; UNITED
STATES DEPARTMENT OF LABOR; and UNITED
STATES OF AMERICA.

                            Defendants.


                    MEMORANDUM OF LAW IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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May 15, 2019
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       Plaintiffs the Commonwealth of Pennsylvania and the State of New Jersey respectfully

move for summary judgment on all counts of their amended complaint. The Rules at issue in this

litigation authorize virtually limitless exemptions from a mandatory obligation for health plans to

provide women with coverage for contraceptive services without imposing cost-sharing

requirements. This Court has twice held that plaintiffs are likely to succeed on their claims that

the Rules violate the Administrative Procedure Act (APA) and blocked defendants from

enforcing them.1 Those decisions were correct: the Agencies disregarded the procedural

requirements of the APA in issuing the Rules, and the Rules themselves are contrary to law and

otherwise inconsistent with the APA’s substantive requirements.

       The Rules are unlawful for multiple other reasons. By singling out women for differential

treatment, they violate the principle of equal protection of the laws, which applies to the federal

government through the Fifth Amendment to the Constitution. For the same reason, they violate

Title VII of the Civil Rights Act. In addition, they violate the Establishment Clause of the First

Amendment by imposing the religious beliefs of employers on their employees. And they violate

multiple provisions of the Affordable Care Act, in addition to those provisions the Court has

already addressed.

       For these reasons, this Court should grant the States’ motion, enter summary judgment in

their favor, and vacate the Rules.

                                         BACKGROUND

       This action challenges two regulations issued by the federal agency defendants (“the

Agencies”) on November 7, 2018 (the “Rules”). J.A. 1–55 (Final Religious Exemption Rule;



       1
        See Pennsylvania v. Trump, 351 F. Supp. 3d 791 (E.D. Pa. 2019); Pennsylvania v.
Trump, 281 F. Supp. 3d 553 (E.D. Pa. 2017).

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J.A. 56–95 (Final Moral Exemption Rule). Those two regulations “finalize” two earlier interim

final regulations issued by the Agencies on October 6, 2017. J.A. 98-41 (Interim Religious

Exemption Rule; J.A. 142-46 (Interim Moral Exemption Rule). The Rules were to become

effective on January 14, 2019, but were enjoined by this Court on that day. 351 F. Supp. 3d at

835.

        The Rules create broad exemptions to the requirement under the Affordable Care Act 2

that certain health plans provide coverage, without imposing cost-sharing requirements, for all

FDA-approved contraceptive methods, sterilization, and counseling services. That requirement

was imposed pursuant to the Women’s Health Amendment, which was adopted by the Senate

during consideration of the ACA and included in the final version of the legislation. The

Women’s Health Amendment requires that health plans provide coverage for “additional

preventive care and screenings” for women without imposing cost-sharing requirements. 42

U.S.C. § 300gg-13(a)(4). In urging support for the amendment, its lead sponsor argued that it

was necessary to stop the “punitive practices of insurance companies” toward women. J.A. 2436.

        In the Women’s Health Amendment, Congress did not dictate which preventive services

for women were to be covered, but delegated that task to the Health Resources and Services

Administration (HRSA), a unit of the Department of Health and Human Services. HRSA “has as

its goal to improve access to primary and preventive care services to uninsured and underinsured

individuals” and “strives to develop ‘best practices’ and create uniform standards of care.” J.A.

2422–23. While Congress did not dictate to HRSA the full list of “care and screenings” to be

covered, the amendment’s supporters made clear that they expected certain services would be




        2
            Patient Protection and Affordable Care Act, Pub. L. No. 111-148 (2010) (ACA).

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included. Among these were cancer screenings, well-women visits, domestic violence

screenings, and family planning services. J.A. 2423.

  I.    The Institute of Medicine Report

        Following passage of the ACA, HRSA commissioned the Institute of Medicine (IOM), a

widely respected organization of medical professionals, to issue recommendations identifying

the preventive services for women to be covered by the Women’s Health Amendment. The IOM,

in turn, convened a committee of sixteen members, including specialists in disease prevention,

women’s health issues, adolescent health issues, and evidence-based guidelines, to formulate

specific recommendations. J.A. 317–18. After conducting an extensive study, the IOM

committee issued a comprehensive report identifying eight evidence-based preventive health

services that it recommended be included. J.A. 313–561.

        Specifically, the IOM committee recommended that HRSA include “the full range of

Food and Drug Administration-approved contraceptive methods, sterilization procedures, and

patient education” as a required preventive services for women. J.A. 335. In making this

recommendation, the IOM committee cited evidence that “contraception and contraceptive

counseling are effective at reducing unintended pregnancies” and observed that “[n]umerous

health professional associations and other organizations recommend the use of family planning

services as part of preventive care for women.” J.A. 335. It discussed in detail the health and

other risks associated with unintended pregnancies, described studies showing that contraception

was effective when used correctly, and explained that cost was a significant barrier to effective

use of contraception. J.A. 427–34.

        The IOM report was released July 19, 2011, and on August 1, 2011, HRSA adopted the

recommendations of the report and issued its first “Women’s Preventive Services Guidelines,” as

required by the Women’s Health Amendment. J.A. 310–12. Consistent with the recommendations
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of the IOM committee, the Guidelines required health plans to cover “All Food and Drug

Administration approved contraceptive methods, sterilization procedures, and patient education

and counseling for all women with reproductive capacity.” J.A. 311. 3

 II.    The Agencies Work to Accommodate Religious Objections to Contraception

        Shortly after the completion of the IOM report and the adoption of its recommendations

by HRSA, the Agencies issued an interim final regulation that “provide[d] HRSA with the

discretion” to exempt certain religious employers from the contraceptive mandate. J.A. 306. The

exemption applied to any “organization that is organized and operates as a nonprofit entity and is

referred to in section 6033(a)(3)(A)(i) or (iii) of the Internal Revenue Code of 1986.” J.A. 265.

These two sections refer to “churches, their integrated auxiliaries, and conventions or

associations of churches” and “the exclusively religious activities of any religious order.” 26

U.S.C. § 6033(a)(3)(A)(i) & (iii).4

        While they were working to finalize the exemption for churches and related entities, the

Agencies announced on February 15, 2012, that they planned to further consider how to address

organizations that did not qualify for the church exemption but nonetheless objected to providing

contraception. Specifically, the Agencies said that they “plan[ned] to develop and propose

changes … that would meet two goals—providing contraceptive coverage without cost-sharing

to individuals who want it and accommodating non-exempted, non-profit organizations’

religious objections to covering contraceptive services.” J.A. 300. In order to facilitate this




        3
         HRSA issued updated guidelines in 2016 and 2017, but continued to require coverage
for contraception. J.A. 96–97; J.A. 180–82.
        4
         The original definition of “religious employer” included additional criteria, J.A. 309,
but it was subsequently simplified. J.A. 265.

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process, they announced a temporary “safe harbor” from enforcement of the mandate for certain

organizations. Id.

       The Agencies subsequently issued an Advanced Notice of Proposed Rulemaking

(ANPRM), a Notice of Proposed Rulemaking (NPRM), and ultimately a final rule. J.A 290–97;

269–89; 238–68. The final rule created an “accommodation” that was available to any nonprofit

entity that “holds itself out as a religious organization” and that had religious objections to

“providing coverage for some or all of any contraceptive services required” by the Women’s

Health Amendment. J.A. 243.

       An organization that qualified for the accommodation could opt out of providing

contraceptive coverage directly by submitting a standard form to its insurance company (if fully

insured), or third-party administrator (if self-insured), informing it of its objections. An insurance

company receiving such notification from an objecting fully insured organization was required to

“[e]xpressly exclude contraceptive coverage from the group health insurance coverage provided

in connection with the group health plan,” and instead “[p]rovide separate payments for any

contraceptive services required to be covered … for plan participants and beneficiaries for so

long as they remain enrolled in the plan.” J.A. 262. The insurance company was further required

to “segregate premium revenue collected from the eligible organization from the monies used to

provide payments for contraceptive services.” Id. Finally, the insurer was required to provide

written notice to plan participants and beneficiaries of the fact that “the eligible organization

does not administer or fund contraceptive benefits” but that such benefits were available directly

from the insurer. Id.

       Under this system, fully insured objecting organizations could opt out of providing

contraception directly, but their plan participants and beneficiaries would still receive the



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benefits they were entitled to under the ACA. Shifting the burden to the insurer to provide the

services directly was not expected to impose additional costs on the insurer, because “[c]overing

contraceptives … yields significant cost savings,” in the form of lower “direct medical costs of

pregnancy” as well as lower “indirect costs, such as employee absence.” J.A. 241. As a result,

the insurance company would expect to see lower expenses from providing coverage to the

organization’s participants and beneficiaries for all other services.

       Unlike fully insured employers, self-insured employers directly pay for the health

expenses they elect to cover, typically with the administrative assistance of an outside

organization known as a third-party administrator (TPA). Under the accommodation, self-insured

objecting organizations could submit the standard form to their TPA, noting their objection to

providing such coverage. J.A. 263–64. The TPA then assumed the obligation to provide

contraceptive coverage to plan participants and beneficiaries, either by paying for contraceptive

services directly or by contracting with another entity to do so. J.A. 264. And the TPA was

obligated to provide the same notice that insurers were required to provide, stating that the

organization did not provide contraceptive benefits, but that such benefits were available from

the TPA. Id.

       In these respects, the accommodation functioned in precisely the same manner for self-

insured and fully-insured organizations. However, because TPAs for self-insured plans do not

bear the costs for other benefits provided to plan participants and beneficiaries, they would not

be expected to save money by providing contraceptive coverage. As a result, the regulations

created a mechanism whereby these TPAs could obtain reimbursement from HHS for the cost of

providing the coverage, as well as an allowance for administrative expenses and profit. The

payment mechanism operated through the Federally-Facilitated Exchange (FFE) user fee paid by



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companies that participate in federally-administered healthcare exchanges, and was referred to as

the “FFE user fee adjustment.” J.A. 251.

III.    Litigation over the Contraceptive Mandate

        Despite these efforts, several employers and colleges filed lawsuits challenging aspects of

the mandate. Specifically, several closely held, for-profit corporations challenged the application

of the mandate to them, arguing that being required to provide contraception violated their

religious beliefs. Following the creation of the accommodation, many of these plaintiffs argued

that the accommodation (for which for-profit corporations were not eligible) showed that the

government could achieve the same benefits without requiring them to provide contraceptive

services directly. Two of these challenges were consolidated before the Supreme Court in

Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014). In Hobby Lobby, the Court held, 5-4,

that the imposition of the mandate on for-profit closely held corporations violated the Religious

Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb et seq.

        Three days after its decision in Hobby Lobby, the Court issued an unsigned order in

Wheaton Coll. v. Burwell, 573 U.S. 958 (2014), another challenge to the contraceptive mandate.

Over the dissent of three justices, the Court ruled that Wheaton College could not be forced to

comply with the mandate if it “inform[ed] the Secretary of Health and Human Services in

writing that it is a nonprofit organization that holds itself out as religious and has religious

objections to providing coverage for contraceptive services.” Id. The Court stressed, however,

that “[n]othing in [the] interim order affects the ability of the applicant’s employees and students

to obtain, without cost, the full range of FDA approved contraceptives” as the government could

rely on the notice provided by Wheaton to “facilitate the provision of full contraceptive coverage

under the Act.” Id.



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       Shortly after these decisions, the Agencies initiated a formal rulemaking process using a

NPRM to amend the eligibility criteria for the Accommodation in light of Hobby Lobby. Ex. 11.

On the same day, the Agencies issued an interim final rule to address the Court’s order in

Wheaton College. Ex. 12. The interim rule created an alternate mechanism by which objecting

entities could establish eligibility for the Accommodation by notifying HHS—rather than their

third-party administrator—of their objection to providing contraception coverage. Id. Both sets

of rules were finalized one year later. Ex. 10.

       Several additional cases were filed by plaintiffs who were eligible for the accommodation

but alleged that it violated their rights under RFRA. Many of these cases were ultimately

consolidated before the Supreme Court in Zubik v. Burwell, 136 S. Ct. 1557 (2016). Six days

after argument in Zubik, the Court issued an order directing the parties to submit supplemental

briefing to “address whether and how contraceptive coverage may be obtained by petitioners’

employees through petitioners’ insurance companies, but in a way that does not require any

involvement of petitioners beyond their own decision to provide health insurance without

contraceptive coverage to their employees.” Zubik v. Burwell, 194 L. Ed. 2d 599 (Mar. 29,

2016). The order proposed one such arrangement, but added that “[t]he parties may address other

proposals along similar lines.” Id. After the parties submitted supplemental briefing, the Court

issued a short per curiam decision. Zubik, 136 S. Ct. 1557. Finding that the option it had

proposed was “feasible,” the Court decided that the parties should be “afforded an opportunity to

arrive at an approach going forward that accommodates petitioners’ religious exercise while at

the same time ensuring that women covered by petitioners’ health plans ‘receive full and equal

health coverage, including contraceptive coverage.’” Id. at 1560. The Court added:




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        Nothing in this opinion, or in the opinions or orders of the courts below, is to affect
        the ability of the Government to ensure that women covered by petitioners’ health
        plans “obtain, without cost, the full range of FDA approved contraceptives.”

Id. at 1560–61 (citations omitted).

        In early 2017, however, the Agencies announced that “no feasible approach has been

identified . . . that would resolve the concerns of religious objectors, while still ensuring that the

affected women receive full and equal health coverage, including contraceptive coverage,” J.A.

172.

IV.     The Interim Final Rules

        On May 4, 2017, President Donald Trump issued an Executive Order directing the

Agencies to “consider issuing amended regulations” to address “conscience-based objections to

the preventive-care mandate promulgated under section 300gg-13(a)(4) of Title 42, United States

Code.” J.A. 167–168. The order did not acknowledge the Court’s instruction in Zubik that the

Agencies ensure that women covered by health plans offered by objecting entities “receive full

and equal health coverage, including contraceptive coverage.” 136 S. Ct. at 1560 (citation

omitted). Several months later, the Agencies issued the IFRs. They were issued without any prior

notice, and became effective immediately—a full week before they were published in the

Federal Register. Despite the lack of notice, the IFRs made several sweeping changes to the

mandate, among them:

        Allowing Publicly Traded Corporations to Opt Out: The IFRs provided that publicly

traded for-profit corporations could opt out of the mandate based on sincerely held religious

views. The Religious IFR justified this expansion by arguing “in a country as large as America

comprised of a supermajority of religious persons, some publicly traded entities might claim a

religious character for their company, or that the majority of shares (or voting shares) of some



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publicly traded companies might be controlled by a small group of religiously devout persons so

as to set forth such a religious character.” J.A. 115.

       Allowing for Moral Objections: For the first time, the Agencies permitted entities with

“sincerely held moral convictions” to opt out of providing contraceptive coverage. J.A. 142–166.

The Moral IFR did not explain what type of belief would qualify as a “sincerely held moral

conviction” that would allow an entity to avoid having to provide coverage. In most respects, the

Moral IFR functioned in the same manner as the Religious IFR, with one exception: publicly

traded companies were not eligible for the Moral IFR; instead, it was only available to nonprofit

entities and closely held corporations.

       Making the Accommodation Optional: The two IFRs rendered the accommodation

entirely optional. Any organization that claimed a religious or moral objection to providing

contraceptive coverage could fully opt out. As a result, the organization’s plan participants and

beneficiaries would no longer receive the contraceptive coverage to which they were legally

entitled. The IFRs did not create any mechanism for women who were denied coverage to obtain

it from other sources, and it did not suggest that the Agencies would work to ensure that such

women had coverage.

       Failing to Require Notice: The IFRs provided that “exempt entities do not need to file

notices or certifications of their exemption, and these interim final rules do not impose any new

notice requirements on them.” J.A. 114. Rather, the only notice plans were required to provide to

participants was that already mandated by ERISA. So long as plans that did not provide

contraception indicated that fact somewhere in their plan documents, they were in full

compliance with the IFRs. J.A. 114.




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 V.    This Action

       On October 11, 2017, the Commonwealth of Pennsylvania filed suit in this matter

alleging that the IFRs violated numerous statutory and constitutional provisions. Complaint, ECF

No. 1. The Commonwealth moved for a preliminary injunction, ECF No. 9 (Nov. 2, 2017),

which this Court granted on December 15, 2017. 281 F. Supp. 3d at 585. This Court concluded

that the Commonwealth had satisfied all of the necessary requirements for the issuance of a

preliminary injunction: it was likely to succeed on the merits of its claims that the IFRs violated

the procedural and substantive requirements of the Administrative Procedure Act; it would suffer

irreparable harm in the absence of an injunction; the balance of equities favored the issuance of

an injunction; and an injunction was in the public interest. Id.

VI.    The Final Rules

       On November 7, 2018, while the appeal of the preliminary injunction was pending before

the Third Circuit, the Agencies issued the Final Rules. J.A. 1–95. The Final Rules made few

substantive changes to the IFRs: they continued to allow publicly traded companies to claim the

religious exemption; they kept the moral exemption in essentially the same form; and they did

not require objecting entities to utilize the accommodation. On December 14, 2018,

Pennsylvania—joined by the State of New Jersey—filed an amended complaint challenging the

Final Rules. See ECF No. 89. Three days later, the States filed a motion for a second preliminary

injunction. See ECF No. 90 (Dec. 17, 2018). Following a hearing, this Court entered a

nationwide preliminary injunction on January 14, 2019, the day the Final Rules were scheduled

to go into effect. 351 F. Supp. 3d at 835. That decision is currently on appeal to the Third Circuit.

                                           ARGUMENT

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

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56(a). In a challenge brought under the Administrative Procedure Act (APA), as here, the Court

must hold unlawful and set aside any agency action that is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law,” “contrary to constitutional right,” “in

excess of statutory jurisdiction, authority, or limitations,” or “without observance of procedure

required by law.” 5 U.S.C. § 706(2)(A)–(D). The Rules fail on all four counts and must be

vacated.

  I.    The Rules Are Contrary to Law

        A. The Rules Violate the Women’s Health Amendment

        Under the Women’s Health Amendment, a “group health plan and a health insurance

issuer offering group or individual health insurance coverage shall, at a minimum provide

coverage for and shall not impose any cost sharing requirements for” preventive services for

women identified by HRSA. § 300gg-13(a)(4). “This repeated use of ‘shall’ creates ‘an

obligation impervious to discretion.’” Prometheus Radio Project v. FCC, 824 F.3d 33, 50 (3d

Cir. 2016) (cleaned up) (quoting Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523

U.S. 26, 35 (1998)). The plain language of the statute does not provide HRSA with authority to

create exemptions from the entities that “shall” provide such coverage.

        Since 2011, the HRSA Guidelines have included “[c]ontraceptive methods and

counseling” among the forms of preventive care that must be provided to women without cost

sharing. J.A. 310–12 (2011 Guidelines); J.A. 180–82 (2016 Guidelines); J.A. 96–97 (2017

Guidelines). HRSA made the determination to include contraception based on the expert

opinions of sixteen medical and health professionals commissioned by the IOM. J.A. 427–35.

The decision was also fully consistent with the expectations of the supporters of the Women’s

Health Amendment, who repeatedly asserted that the amendment would provide coverage for

“family planning.”

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       Rather than confront the import of Congress’s choice of words that impose a mandatory

obligation, the Agencies ignore it altogether. Throughout the entirety of both Rules, the Agencies

manage to avoid quoting or even acknowledging the use of the word “shall” in the Women’s

Health Amendment. By ignoring the mandatory language of the Women’s Health Amendment,

the Agencies are able to assert that the provision “demonstrate[s] that Congress intended HRSA

to have the discretion the Agencies invoke.” J.A. 6. The Agencies assert that the word “as”

somehow conferred broad discretion on them to exempt entities from the requirements of the

Women’s Health Amendment. This Court has already rejected this argument: the word “as”

simply indicates “that the HRSA guidelines would be forthcoming,” because they did not exist at

the time of the ACA’s passage. 351 F. Supp. 3d at 820. 5

       In the Rules, the Agencies claim that the Women’s Health Amendment to the ACA

“provided a positive grant of authority for HSRA to develop those Guidelines.” J.A. 5; but see

Br. for the Fed. Defs., State of Texas v. United States, at 18, No. 19-1011 (5th Cir. May 1, 2019)

(assertion by Defendants HHS, Azar, and United States that the ACA is “is invalid in its

entirety”). But the Women’s Health Amendment granted HRSA the authority to determine what

women’s preventive services would be covered; it did not grant it the authority to determine who

must cover such services. Congress clearly spoke to the latter issue, defining the “who” in

§ 300gg-13(a), which applies to “[a] group health plan and a health insurance issuer offering

group or individual health insurance coverage.” That section requires insurers to cover four

different categories of preventive services, including women’s preventive services. See § 300gg-


       5
           The Agencies argue that the statutory exclusion of so-called “grandfathered” plans
implies that they have discretion to exempt any plan from the Women’s Health Amendment. In
reality, it implies the reverse: Congress knew how to exclude certain plans when it wished to, so
the fact that it did not provide or authorize exclusions for objectors suggests that it did not wish
to do so.

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13(a)(1)–(4). So the Agencies’ tortured reading of the statute would imply that the language of

§ 300gg-13(a) means different things in different contexts: for purposes of the other three

requirements, it means exactly what it says, but for purposes of the obligation to cover women’s

preventive services, the definition is left up to HRSA’s discretion. 6

       MCI Telecommunications Corp. v. American Telephone & Telegraph Co., 512 U.S. 218

(1994), further undermines the Agencies’ claims. There, the Supreme Court rejected the FCC’s

contention that a provision allowing it to “modify any requirement” in a section of the

Communications Act gave it the authority to exempt certain carriers from the requirement of that

section that all common carriers “shall” file tariffs with the FCC. Id. at 227–34. If the word

“modify” does not support such authority, it is hard to see how the word “as” (or the omission of

phrases such as “evidence-based,” J.A. 6), could possibly do so.

       The ACA sought to facilitate access to healthcare, not limit it. The Women’s Health

Amendment sought to expand women’s access to necessary preventive services, in recognition

of the fact that “women often forgo those critical preventive screenings because they simply

cannot afford it, or their insurance company won’t pay for it unless it is mandated by State law.”

J.A. 2378. Congress mandated that HRSA identify what services were to be required, because it

had the relevant expertise and was devoted to expanding access to health care. 7 To accept the


       6
         As the Court previously discussed, see 351 F. Supp. 3d at 820, the subsection
immediately preceding § 300gg-13(a)(4) uses very similar language, requiring health plans to
cover “with respect to infants, children, and adolescents, evidence-informed preventive care and
screenings provided for in the comprehensive guidelines supported by the Health Resources and
Services Administration.” 42 U.S.C. § 300gg-13(a)(3). And the guidelines referenced in this
subsection simply define the “what”; they “do not speak at all to who must provide that
coverage,” because the “who” is defined in § 300gg-13(a). 351 F. Supp. 3d at 820 (citing Ex.
153).
       7
        Of course, HRSA has no particular expertise in creating religious or other exemptions to
mandatory requirements; to the contrary, it has the stated goal of “Improv[ing] Access to Quality
Health Care and Services.” See Ex. 155.

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Agencies’ view of their authority would upend each of these fundamental understandings. The

Agencies have offered no basis for doing so, and this Court should again reject their unsupported

assertion of sweeping authority under the Women’s Health Amendment.

       B. RFRA Neither Permits Nor Requires the Religious Exemption Rule

       The Agencies have also asserted that the Religious Exemption Rule—but not the Moral

Exemption Rule—rests on authority derived from RFRA. Under RFRA, the federal government

may not “substantially burden a person’s exercise of religion” unless “application of the burden

to that person—(1) is in furtherance of a compelling governmental interest; and (2) is the least

restrictive means of furthering that compelling governmental interest.” Id. § 2000bb(a) & (b).

This requirement applies “to all Federal law, and the implementation of that law.” Id. § 2000bb-

3(a). The statute further authorizes “[j]udicial relief” for violations of these requirement,

providing: “A person whose religious exercise has been burdened in violation of this section may

assert that violation as a claim or defense in a judicial proceeding and obtain appropriate relief

against a government.” Id. § 2000bb(c).

       This Court has correctly recognized that “the law is clear” that RFRA does not require

the Religious Exemption Rule. 351 F. Supp. 3d at 823. As an initial matter, RFRA creates a

judicial remedy; nowhere does it authorize agencies to create broad exemptions from otherwise

mandatory obligations. 42 U.S.C. § 2000bb(c). As this Court previously held, “administrative

agencies may not simply formulate a view of a law outside their particular area of expertise,

issue regulations pursuant to that view, claim that the law requires those regulations, then seek to

insulate their legal determination from judicial scrutiny.” 351 F. Supp. 3d at 823. This decision

was fully consistent with controlling precedent: “RFRA’s demand for judicial review has been




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recognized by the Supreme Court, by [the Third Circuit] in Geneva,8 and by virtually all [other]

circuits.” Real Alternatives, Inc. v. Sec’y Dep’t of Health & Human Servs., 867 F.3d 338, 357–58

(3d Cir. 2017).

       As this Court previously noted, the proper analysis under RFRA can be found “through a

close read of Hobby Lobby.” 351 F. Supp. 3d at 824. In the course of arguing that there was little

relevance to the fact that the Senate had rejected an effort to add a legislative conscience

protection requirement to the ACA, the Supreme Court observed:

       [The Senate proposal] would not have subjected religious-based objections to the
       judicial scrutiny called for by RFRA, in which a court must consider not only the
       burden of a requirement on religious adherents, but also the government’s interest
       and how narrowly tailored the requirement is.

Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 719 n.30 (2014). The Agencies’ conclusion

that RFRA justifies the Religious Exemption Rule cannot be squared with this description of

how RFRA operates.

       As this Court observed, see 351 F. Supp. 3d at 826 n. 23, the question of “whether RFRA

grants agencies independent authority to issue regulations of general applicability” is a difficult

one. But the Court need not resolve this question, because the Agencies’ view of their authority

under RFRA far exceeds any reasonable interpretation of that statute. According to their view,

“agencies charged with administering a statute that imposes a substantial burden on the exercise

of religion under RFRA have discretion in determining whether the appropriate response is to

provide an exemption from the burdensome requirement, or to merely attempt to create an

accommodation that would mitigate the burden.” J.A. 9. In other words, the Agencies contend

that they can excuse religious objectors from a statutory obligation without even “attempt[ing]”


       8
        Geneva College v. Secretary United States Department of Health and Human Services,
778 F.3d 422, 427 (3d Cir. 2015), vacated and remanded sub nom. Zubik, 136 S.Ct. at 1561.

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to find an alternate means of achieving the goals of that statute. And they can do so without

requiring objectors to so much as provide notice of their objection.

       The Agencies’ interpretation is particularly dangerous here, because their decision to

exempt objectors from the mandate imposes a significant burden on third parties: women who

will be denied access to legally mandated contraceptive coverage. Concerns about the impact of

the exemptions on these women were discussed at length in numerous comments submitted by a

broad spectrum of individuals and organizations. See infra Part VII.B. But according to the

Agencies, such commenters were simply misinformed as to what the Rules actually do:

       If some third parties do not receive contraceptive coverage from private parties
       who the government chose not to coerce, that result exists in the absence of
       governmental action—it is not a result the government has imposed. Calling that
       result a governmental burden rests on an incorrect presumption: that the
       government has an obligation to force private parties to benefit those third parties
       and that the third parties have a right to those benefits….

       The fact that the government at one time exercised its administrative discretion to
       require private parties to provide coverage to benefit other private parties, does
       not prevent the government from relieving some or all of the burden of its
       Mandate…. In the Religious [IFR] and these rules, the government has simply
       restored a zone of freedom where it once existed.

J.A. 14. In other words, whatever harm women may suffer as a result of the Rules is not the

government’s fault—and even if it were, the harm is unimportant, because the Rules are really

about restoring a “zone of freedom.”

       Even on their own terms—that is, if the Agencies did have the authority to issue blanket

exemptions under RFRA—the justifications offered by the Agencies fail. As an initial matter, the

Agencies claim that the Exemption is a justifiable response “to the substantial burden identified

by the Supreme Court in Hobby Lobby.” J.A. 10. But Hobby Lobby held that the contraceptive

mandate itself imposed a substantial burden on closely held, for-profit corporations with

religious objections. See 573 U.S. at 719. It made clear that the case “[did] not involve publicly

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traded corporations.” Id. at 719. And it did not address whether the accommodation imposed a

substantial burden on religious objectors; to the contrary, it identified the accommodation as a

less restrictive means that served the compelling interest identified by the government. Id. at

730–31; see also id. at 738 (Kennedy, J., concurring) (“[The] accommodation equally furthers

the Government’s interest but does not impinge on the plaintiffs’ religious beliefs.”). So the

Agencies cannot use Hobby Lobby to justify 1) extending the exemption to publicly traded

corporations and 2) finding that the accommodation imposes a substantial burden on religious

objectors.

       With respect to the latter deficiency, the Agencies’ actions are inconsistent with the Third

Circuit’s decision in Real Alternatives, which reaffirmed the view expressed in Geneva College

that “the regulation at issue there [the accommodation] did not impose a substantial burden.” 867

F.3d at 356 n.18. Nowhere in the Religious Exemption Rule do the Agencies acknowledge the

Third Circuit’s majority opinion in Real Alternatives; rather, the only mention of the case is a

citation to the dissent. The omission of any discussion of the Real Alternatives majority opinion

is all the more remarkable because Real Alternatives was one of only two published decisions by

a court of appeals addressing a RFRA challenge to the contraceptive mandate following the

remand in Zubik and prior to the issuance of the IFRs. Cf. Ozinga v. Price, 855 F.3d 730, 736

(7th Cir. 2017) (dismissing challenge to mandate as moot in light of Hobby Lobby).

       Further compounding this error, the only authority other than Hobby Lobby that the

Agencies do cite for their determination that the accommodation imposes a substantial burden is

a decision of the Eighth Circuit—but the Agencies fail to mention that that decision was vacated

by the Supreme Court following Zubik. See J.A. 11.9 And because RFRA is not implicated in the


       9
           The Agencies assert:

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absence of a substantial burden, if the Agencies conclusion on this point is unsupported, their

entire RFRA justification falls apart.

       The same is true of the Agencies’ assertion that the accommodation does not serve a

compelling governmental interest. If this argument is wrong, their justification likewise

collapses. In the Rule, they do not seriously grapple with the question of whether the

accommodation is the “least restrictive means” of furthering the government’s interest, and

nothing in the Rule reflects that the Agencies have undertaken any additional, less restrictive

efforts to see to it that women denied coverage are provided access to contraception. 10 So if the




       To this extent, the Departments believe that the Court’s analysis in Hobby Lobby
       extends, for the purposes of analyzing substantial burden, to the burdens that an
       entity faces when it opposes, on the basis of its religious beliefs, complying with
       the Mandate or participating in the accommodation process, and is subject to
       penalties or disadvantages that would have applied in this context if it chose
       neither. See also Sharpe Holdings, 801 F.3d at 942.
J.A. 11. But see Sharpe Holdings, Inc. v. U.S. Dep’t of Health & Human Servs., 801 F.3d 927
(8th Cir. 2015), cert. granted, judgment vacated sub nom. U.S. Dep’t of Health & Human Servs.
v. CNS Ministries, No. 15-775, 2016 WL 2842448, at *1 (May 16, 2016).
       10
           The Religious Exemption Rule did mention one example of an action the government
was considering that, it argued, would allow women denied coverage to obtain it elsewhere. The
Rule discussed a separate, pending rulemaking issued by Defendant HHS relating to the Title X
program. According to the Agencies, that proposed rule would allow women denied coverage to
obtain it from a Title X clinic:
       The proposed regulation would amend the definition of “low income family”—
       individuals eligible for free or low cost contraceptive services—to include women
       who are unable to obtain certain family planning services under their employer-
       sponsored health coverage due to their employers’ religious beliefs or moral
       convictions.
J.A. 16. But in the final Title X rule (since enjoined by three courts, see infra Part I.C), HHS
offered a different interpretation of the proposal:
       Some commenters are under the mistaken impression that the proposed rule
       requires project directors to consider women as being from a low income family if
       they have this insurance status, but the proposed rule said the project director “may”
       reach that conclusion, not that the director “must” do so.

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accommodation serves a compelling governmental interest it would be permissible under RFRA,

even if it were held to impose a substantial burden, and the Agencies’ argument would again

collapse. 42 U.S.C. § 2000bb-1(b). And for the reasons discussed below, see infra Part VII.B, the

Agencies’ conclusions as to the safety and efficacy of contraception cannot be justified based on

the record, and therefore cannot support an about-face on the existence of a compelling interest.

       For all these reasons, the Agencies’ claim that the Religious Exemption Rule is justified

by RFRA is erroneous and should be rejected.

       C. The Rules Create an Unreasonable Barrier to the Availability of Appropriate
          Medical Care

       Section 1554 of the ACA prohibits the Secretary of Health and Human Services from

“promulgat[ing] any regulation that … creates any unreasonable barriers to the ability of

individuals to obtain appropriate medical care.” 42 U.S.C. § 18114(1). By allowing employers to

deny women access to legally-mandated contraceptive care, the Rules here do exactly that.

       There can be no dispute that contraception is, for many women, “appropriate medical

care.” And since the Rules allow employers to deny women coverage for contraception, they

“create[] . . . barriers” for women who wish to access such care. That some women denied

coverage may be able to surmount these barriers and obtain contraception elsewhere (often at a

significantly higher cost) does not change this fact: by allowing employers to deny coverage,

they make it more difficult for women to access the care they need. Indeed, three separate district

courts have recently issued decisions relying on Section 1554 to enjoin rules that would impose

new requirements on Title X clinics, thus making it more difficult for women (and men) to

access needed health care, including contraception. See Oregon v. Azar, No. 19-317, 2019 WL



Ex. 154 at J.A. 2592. The final Title X rule does not acknowledge that HHS itself, along with
two other federal agencies, was under the same “mistaken impression.”

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1897475, at *12 (D. Or. Apr. 29, 2019); California v. Azar, No. 19-1184, 2019 WL 1877392, at

*23–26 (N.D. Cal. Apr. 26, 2019); Washington v. Azar, No. 19-3040, 2019 WL 1868362, at *7

(E.D. Wash. Apr. 25, 2019).

        The barriers created by the Rules are “unreasonable.” The Rules will result in significant

harm to women who lose coverage, and are not justified by their purported benefits—particularly

because the Agencies made no effort to find a way to accommodate the concerns of religious

objectors “while at the same time ensuring that women covered by petitioners’ health plans

‘receive full and equal health coverage, including contraceptive coverage.’” Zubik, 136 S. Ct. at

1560–61. The unreasonableness of the Rules is only compounded by the Agencies’ failure to

address the many significant concerns raised by commenters, and their inexplicable about-face

on fundamental questions such as the safety and efficacy of contraception. See infra Part II.A &

B. As a result, the Rules create “unreasonable barriers to the ability of individuals to obtain

appropriate medical care,” and are therefore unlawful under the ACA and the APA. See 5 U.S.C.

§ 706(2)(C) (Agency action must be struck down if it is “in excess of statutory jurisdiction,

authority, or limitations”).

        D. The Rules Violate Title VII of the Civil Rights Act and Section 1557 of the ACA
           (Count II)

        Title VII of the Civil Rights Act prohibits employers from discriminating on the basis of

sex. See 42 U.S.C. § 2000e-2(a). Similarly, section 1557 of the ACA provides that no individual

shall “be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under, any health program or activity, any part of which is receiving Federal

financial assistance.” 42 U.S.C. § 18116(a). The Rules violate both of these provisions.

        In 1978, Congress enacted the Pregnancy Discrimination Act (PDA), which amended

Title VII to make clear that discrimination because of “pregnancy, childbirth, or related medical


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conditions” is prohibited discrimination on the basis of sex. See 42 U.S.C. § 2000e(k). The PDA

was intended to correct an erroneous interpretation of Title VII by the Supreme Court in General

Electric Co. v. Gilbert, 429 U.S. 125 (1976), and in enacting the statute Congress expressly

embraced the logic of the dissenters in that case. See H. Rep. No. 95-948, at 2 (1978) (“It is the

Committee’s view that the dissenting justices correctly interpreted the [Civil Rights] Act.”); see

also Newport News Shipbuilding and Dry Dock Co. v. EEOC, 462 U.S. 669, 676–82 & n.17

(1983).

          General Electric involved a challenge to a company rule that provided employees with

disability benefits but specifically excluded disabilities related to pregnancy. See 429 U.S. at

125. Writing in dissent, Justice Stevens observed, “By definition, such a rule discriminates on

account of sex; for it is the capacity to become pregnant which primarily differentiates the

female from the male.” Id. at 161–62. It is this principle that Congress embraced in enacting the

PDA: discrimination on the basis of sex-based characteristics is discrimination on the basis of

sex. See H. Rep. No. 95-948, at 2 (quoting Stevens dissent with approval); see also Newport

News, 462 U.S. at 676 (“Accordingly, we shall consider whether Congress, by enacting the

Pregnancy Discrimination Act, not only overturned the specific holding in General Electric v.

Gilbert, supra, but also rejected the test of discrimination employed by the Court in that case.

We believe it did.”).

          Relying on this principle, the Supreme Court subsequently struck down, in U.A.W. v.

Johnson Controls, Inc., an employer’s policy that excluded women, except those determined to

be infertile, from jobs involving exposure to lead. See 499 U.S. 187, 199 (1991). By so targeting

“women with childbearing capacity,” the policy violated Title VII’s prohibition on sex

discrimination. See id. at 200. The Court noted that its conclusion was “bolstered by” the PDA,



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finding that by using “the words ‘capable of bearing children’ … as the criterion for exclusion,

[the employer] explicitly classifies on the basis of potential for pregnancy.” Id. at 199. It

concluded, “Under the PDA, such a classification must be regarded, for Title VII purposes, in the

same light as explicit sex discrimination.” Id.

        The same logic prohibits employer policies that treat contraception differently from

analogous categories of health care. For example, if an employer provides prescription drug

coverage to its employers, it cannot exclude contraceptive prescriptions without running afoul of

Title VII. See Erickson v. Bartell Drug Co., 141 F. Supp. 2d 1266, 1269 (W.D. Wash. 2001) (“In

light of the fact that prescription contraceptives are used only by women, [defendant’s] choice to

exclude that particular benefit from its generally applicable benefit plan is discriminatory.”); but

see In re Union Pac. R.R. Employment Practices Litigation, 479 F.3d 936, 942 (8th Cir. 2007).

As the Erickson court recognized, “when an employer decides to offer a prescription plan

covering everything except a few specifically excluded drugs and devices, it has a legal

obligation to make sure that the resulting plan does not discriminate based on sex-based

characteristics and that it provides equally comprehensive coverage for both sexes.” See id. at

1272.

        The Erickson court’s finding that differential treatment of contraceptive benefits is

unlawful is grounded both in the principle that Title VII prohibits discrimination on the basis of

“sex-based characteristics,” see id., as well as Congress’s expressed intent that the PDA’s

protections should “extend[] to the whole range of matters concerning the childbearing process.”

See H. Rep. No. 95-948, at 5. Since the capacity to become pregnant (and therefore the potential

need for contraception) is a sex-based characteristic, such differential treatment is discrimination

on the basis of sex. And even if that were not the case, contraceptive use is part of “the whole



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range of matters concerning the childbearing process.” Either way, differential treatment of

contraceptive care violates Title VII. But differential treatment is precisely what the Rules

authorize. An entity that refuses to provide contraceptive care will still have an obligation to

provide other preventive care, see 42 U.S.C. § 300gg-13(a)(1); id. § 18022(b)(1)(F), and will

similarly have an obligation to provide prescription benefits, see id. § 18022(b)(1)(I). But it will

be permitted to exclude a category of coverage that is for the exclusive benefit of women. Such

conduct is unlawful under Title VII, and by purporting to authorize such conduct, the Rules are

unlawful under the APA. See 5 U.S.C. § 706(2)(A); see also Farrington v. Johnson, 206 F. Supp.

3d 634, 635, 644 (D.D.C. 2016) (refusing to dismiss APA claim arising under Title VII); Pima

Cty. Cmty. Coll. Dist. v. EEOC, No. 75-210, 1976 WL 548, at *2 (D. Ariz. 1976) (observing that

Title VII is “certainly a relevant statute within the contemplation” of the APA).

       For the same reason, the Rules violate section 1557 of the ACA, 42 U.S.C. § 18116(a).

That section prohibits “discrimination under[] any health program or activity, any part of which

is receiving Federal financial assistance,” on several grounds, including “the ground prohibited .

. . under title IX of the Education Amendments of 1972.” Id. Title IX prohibits discrimination

“on the basis of sex” in education, 20 U.S.C. § 1681, and its implementing regulations make

clear that it prohibits discrimination on the basis of pregnancy. See 34 C.F.R. § 106.40(b)(1) (“A

recipient shall not discriminate against any student … on the basis of such student’s pregnancy,

childbirth, false pregnancy, termination of pregnancy or recovery therefrom.”). By authorizing

employers and other plan sponsors to exclude contraception, the Rules authorize discrimination

on the basis of sex, and are therefore unlawful under the APA.




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       E. The Rules Violate the Equal Protection Provisions of the Fifth Amendment
          (Count I)

       The Rules violate the guarantee of equal protection, as applied to the Federal Government

through the Fifth Amendment. Under the Fifth Amendment, classifications based on gender are

subject to heightened scrutiny. See Sessions v. Morales-Santana, 137 S. Ct. 1678, 1689–90 (2017);

see also Abdul-Akbar v. McKelvie, 239 F.3d 307, 317 (3d Cir. 2001) (“Fifth Amendment equal

protection claims are examined under the same principles that apply to such claims under the

Fourteenth Amendment.”). Successful defense of such a classification “requires an ‘exceedingly

persuasive justification’”—the government must demonstrate “at least that the challenged

classification serves important governmental objectives and that the discriminatory means

employed are substantially related to the achievement of those objectives.” Morales-Santana, 137

S. Ct. at 1690 (citations and internal quotation marked omitted). This burden is a demanding one.

United States v. Virginia, 518 U.S. 515, 533 (1996).

       The Rules at issue here unquestionably target women for uniquely unfavorable treatment.

Although the ACA requires coverage for many different types of preventative services, the Rules

single out care for women’s reproductive health for different treatment and lesser protection. While

the President’s Executive Order purported to be concerned with conscience issues generally, in

fact the only regulatory provision explicitly mentioned in the Executive order, and then in the Final

Rules, is 42 U.S.C. § 300gg-13(a)(4), which governs preventative care and services for women.

       The Government has failed to provide an “exceedingly persuasive justification” for

allowing conscience protections to override what Congress determined to be essential healthcare

benefits for women, while leaving undisturbed all other essential healthcare benefits. As Congress

and the courts have recognized, women’s health, education, and livelihoods depend on their ability

to control their reproductive choices, without which they cannot participate as full and equal


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members of society. See generally, United States v. Virginia, 518 U.S. at 532 (women cannot be

denied an “equal opportunity to aspire, achieve, participate in and contribute to society”); Int’l

Union v. Johnson Controls, 499 U.S. 187, 211 (1991) (a woman’s reproductive and economic roles

are her own choice, not that of the government or her employer). And certainly the protection

afforded an employer’s mere moral objections to the provision of contraceptive services cannot

provide an “exceedingly persuasive justification” for overriding Congress’ decision to provide

essential healthcare benefits to women.

       Moreover, even if this Court were to consider “conscience protections” to be an important

governmental objective in the provision of healthcare generally, the Government cannot

demonstrate that the discriminatory means employed here are “substantially related to the

achievement of those objectives.” The Government has failed to provide any justification for

targeting only women’s health care when purportedly protecting religious and moral conscience

decisions.

       [C]ontraceptive care is by no means the sole form of health care that implicates
       religious concerns. To cite a few examples: artificial insemination and other
       reproductive technologies; genetic screening, counseling, and gene therapy;
       preventative and remedial treatment for sexually-transmitted diseases; sex
       reassignment; vaccination; organ transplantation from deceased donors; blood
       transfusions; stem cell therapies; end-of-life care, including the initiation and
       termination of life support; and, for some religions, virtually all conventional
       medical treatments.

Grote v. Sebelius, 708 F.3d 850, 866 (7th Cir. 2013). Of course, an insurance system in which each

individual or employer can demand an insurance policy that conforms to his or her religious beliefs

is unworkable. But that limitation cannot justify the Government’s decision to allow employers to

opt out of providing essential healthcare benefits for women only.

       In sum, the Women’s Health Amendment was intended to ensure that women receive

essential healthcare coverage on an equal basis with men, and the Government violated women’s

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equal protection rights when it chose to target the essential healthcare benefits that the ACA

afforded women while leaving all other essential health benefits intact.

       F. The Religious Exemption Rule Violates the Establishment Clause (Count V)

       The Establishment Clause of the First Amendment provides that “Congress shall make no

law respecting an establishment of religion.” U.S. Const. amend. I. There is no single test that

courts consistently apply to determine when an Establishment Clause violation has occurred, but

it is clear, at a minimum, that the Government violates the Clause when its actions have a purpose

or primary effect of advancing religion. See Lemon v. Kurtzman, 403 U.S. 602, 612–13 (1971);

Doe v. Indian River School Dist., 653 F.3d 256, 283–84 (3d Cir. 2011). And while the Government

is permitted to seek to accommodate religious views, “accommodation is not a principle without

limits.” Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S. 687, 706 (1994). The

Religious Exemption Rule violates the Establishment Clause because it favors a broadly defined

group of religious employers and plan sponsors by granting them absolute and unqualified power

to impose substantial burdens on employees who do not share their employers’ religious beliefs.

       Courts most frequently begin their Establishment Clause analysis by looking to the well-

established three-part test Lemon test, which holds that “a state law or governmental action violates

the Establishment Clause if (1) it lacks a secular purpose, (2) its principal or primary effect

advances or inhibits religion, or (3) it fosters an excessive government entanglement with

religion.” Stratechuk v. Board of Education, 587 F.3d 597, 604 (3d Cir. 2009) (cleaned up).

Although courts in recent years have not universally applied the Lemon test, it remains a touchstone

of Establishment Clause analysis. See Stratechuk, 587 F.3d at 604 (applying Lemon while also

discussing the “coercion test” and the “endorsement test’).

       In this case, the context, history, and plain language of the Religious Exemption Rule

demonstrates that, in contravention of the Lemon test, its principal purpose and effect is to advance
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the religious views of employers and plan sponsors to the detriment of their employees who do not

share their religious beliefs and without due consideration of the employees’ countervailing

interests. This purpose is clear from the language of the Executive Order, which states that it is the

policy of the Executive Branch to “vigorously enforce Federal law’s robust protections for

religious freedom.” See Ex 6 (Executive Order). Similarly, the stated purpose of the Religious

Exemption Rule is to protect “religious beliefs[] in the context of health care and human services,”

J.A. 3 (final Rule), and “provide conscience protections for individuals and entities with sincerely

held religious beliefs in certain health care contexts,” J.A. 99 (IFR). The Rule does not even bother

to feign a non-religious purpose, such as health or economic concerns. If allowed to be put into

effect, the Rule’s only effect will be to favor the religious views of employers over the health needs

of their employees.

       To be sure, the Government may, under certain circumstances, alleviate a burden on

religious exercise without running afoul of the Establishment Clause. See Cutter v. Wilkinson, 544

U.S. 709, 719–20 (2005). But “[a]t some point, accommodation may devolve into ‘an unlawful

fostering of religion.’” Corp. of Presiding Bishop of Church of Jesus Christ of Latter-day Saints

v. Amos, 483 U.S. 327, 334–35 (1987) (quoting Hobbie v. Unemployment Appeals Com’n of

Florida, 480 U.S. 136, 145 (1987)). This is such a case. Here, the Government has elevated the

religious beliefs of employers over the health needs of their employees, in an absolute and

unqualified way, without giving due weight to the employees’ interests. The Rule fails to require

employers or their health plans to provide contraceptive coverage for employees even when

contraceptives are necessary to preserve a women’s health. And this dramatic expansion favoring

the religious beliefs of employers over women’s health has been done despite the existence of a

much less burdensome pre-existing alternative, i.e., the accommodation that required health care



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providers, rather than employers, to provide employees with ready access to the contraceptive

coverage mandated by the ACA.

       The most directly analogous case is Estate of Thornton v. Caldor, 472 U.S. 703 (1985), in

which a department store challenged a Connecticut statute that provided all employees with the

right not to work on their chosen Sabbath day. Id. at 708. The Supreme Court held that the

Connecticut statute, by providing “Sabbath observers with an absolute and unqualified right not to

work on whatever day they designate as their Sabbath” violates the Establishment Clause. Id. at

709. The Court noted that the State impermissibly “commands that Sabbath religious concerns

automatically control over all secular interests at the workplace; the statute takes no account of the

convenience or interests of the employer or those of other employees who do not observe a

Sabbath.” Id. The Court further noted that the statute provided no exception for “when the

employer’s compliance would require the imposition of significant burdens on other employees

required to work in place of the Sabbath observers,” and the statute “allows for no consideration

as to whether the employer has made reasonable accommodation proposals.” Id. at 710.

       The Religious Exemption Rule violates the Establishment Clause for the same reasons that

the Connecticut statute did in Caldor. Here, the new rule provides employers with an absolute and

unqualified right to deny contraceptive coverage to their employees based solely on the employer’s

self-professed religious beliefs. This exemption takes no account of the hardships imposed on the

non-believing employees who lose this vital health care coverage. And this absolute right is

conferred on religious employers despite the existence of a much less intrusive potential remedy,

which previously required health care providers, but not the employers themselves, to ensure that

their employees have access to ACA-mandated health benefits. Just as in Caldor, the religious

beliefs of one party in an employer-employee relationship trump everything else, with no



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consideration for the hardships imposed on those who do not share those religious beliefs and no

consideration given to less restrictive alternatives. See also Cutter, 544 U.S. at 710 (“An

accommodation must be measured so that it does not override other significant interests.”); Texas

Monthly, Inc. v. Bullock, 489 U.S. 1, 18 n.8 (1989) (plurality op.) (religious accommodations are

permissible when they do not “impose substantial burdens on non-beneficiaries”).

          In sum, the Religious Exemption Rule impermissibly favors religious employers over their

employees who do not share their religious beliefs, and it does so in a manner that goes well beyond

mere accommodation. The Religious Exemption Rule grants an unqualified right to religious

employers that imposes significant hardships on their employees in violation of the Establishment

Clause.

 II.      The Rules Are Arbitrary and Capricious (Count IV)

          Not only are the Rules contrary to law, but they are also arbitrary and capricious in

contravention of the APA. 5 U.S.C. § 706(2)(A). Agency action is arbitrary and capricious if it

fails to “‘examine the relevant data and articulate a satisfactory explanation for its action,

including a rational connection between the facts found and the choice made.’” Prometheus

Radio Project v. FCC, 652 F.3d 431, 469 (3d Cir. 2011) (quoting Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). Agency action is also

arbitrary and capricious if the agency “entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the

agency, or is so implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” State Farm, 463 U.S. at 43. “[A]n agency’s action must be upheld, if at all, on

the basis articulated by the agency itself.” Id. at 50.

          In reaching its conclusions, a federal agency has an independent “obligation to remain

open-minded about the issues raised and engage with the substantive responses submitted.”
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Prometheus Radio Project, 652 F.3d at 453 (cleaned up). The agency “must respond in a

reasoned manner” to all public comments “that raise significant problems.” Am. Coll. of

Emergency Physicians v. Price, 264 F. Supp. 3d 89, 94 (D.D.C. 2017) (quoting City of

Waukesha v. EPA, 320 F.3d 228, 257 (D.C. Cir. 2003)); see United States v. Nova Scotia Food

Prod. Corp., 568 F.2d 240, 252 (2d Cir. 1977). These responses “enable the Court to see what

major issues of policy were ventilated and why the agency reacted to them as it did.” Price, 264

F. Supp. 3d at 94 (cleaned up) (quoting Auto. Parts & Accessories Ass’n v. Boyd, 407 F.2d 330,

338 (D.C. Cir. 1968)). “[F]ailure to address these comments, or at best its attempt to address

them in a conclusory manner, is fatal to its defense.” Ass’n of Private Sector Colleges &

Universities v. Duncan, 681 F.3d 427, 449 (D.C. Cir. 2012) (cleaned up).

       Three examples demonstrate the agencies’ faulty reasoning: First, the Agencies failed to

justify their abrupt about-face on the safety, efficacy, and benefits of contraception. Second, the

Agencies failed to respond to significant comments. And third, the Agencies failed to adequately

account for the economic impact the Rules will have on women.

       A. The Agencies Failed to Provide a Reasoned Explanation for Their Reversal on
          the Safety, Efficacy, and Benefits of Contraception.

       Prior to October 2017, the Agencies consistently recognized that contraception and

contraceptive counseling are safe, effective, and beneficial preventive services for women. Facts

¶¶ 37–47. Because women face the unique health needs associated with the ability to become

pregnant, and because unintended pregnancy poses health risks, the Agencies determined that

contraception is a preventive service. Id. And because cost sharing is a barrier to effective

contraception use, the Agencies concluded that the contraceptive mandate is necessary to remedy

a critical gender disparity that prevents women from achieving equal health outcomes with men.

Id.


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       In the Final Rules, the Agencies assert the opposite. J.A. 17–21. Faced with some

comments asserting that contraception poses health risks to women, that some forms of

contraception are actually abortion, and that contraception has not reduced teen pregnancy, 11

they now decline to “take a position on the[se] empirical question[s].” J.A. 20. They likewise

conclude that “it is not clear” that the Rules “will have a significant effect on contraceptive use

and health, or workplace equality, for the vast majority of women benefitting from the

Mandate”—even though the Rules will deprive non-objecting female employees of access to

cost-free contraceptive services. J.A. 20–21.12

       Agencies are “free to change their existing policies,” Encino Motorcars, LLC v. Navarro,

136 S. Ct. 2117, 2125 (2016), but they must provide a “reasoned explanation” and “show that

there are good reasons for the new policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502,

515 (2009). Simply demonstrating awareness of their change in policy is insufficient if the

agencies provide a poorly reasoned explanation for “why [they] deemed it necessary to overrule

its previous position.” Navarro, 136 S. Ct. at 2126. And when—as here—the “new policy rests

upon factual findings that contradict those which underlay its prior policy” and “its prior policy

has engendered serious reliance interests,” the agency must provide “a more detailed

justification.” Fox Television Stations, Inc., 556 U.S. at 515. Whether contraception is safe,

effective, and beneficial is a factual question that was previously answered in the affirmative by


       11
           Only some of the 27 comments supporting the Rules raised these concerns with any
specificity. See Exs. 111–113, 115–117, 119.
       12
          The Agencies had previously explained that the church exemption would likely not
negatively impact women because houses of worship “are more likely than other employers to
employ people of the same faith who share the same objection.” J.A. 243. But the Agencies had
rejected expanding the exemption to other employers precisely because female employees of
non-religious employers are “less likely than individuals in plans of religious employers to share
their employer’s (or institution of higher education’s) faith and objection to contraceptive
coverage on religious grounds.” J.A. 256. The Agencies do not reverse this conclusion here.

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Defendant HHS, the agency charged with “fostering sound, sustained advances in the sciences

underlying medicine, public health, and social services.” Ex. 150. The contraceptive mandate has

also generated significant reliance interests: the Agencies acknowledge that between 55.6 million

and 62.4 million women covered by private insurance currently have cost-free contraceptive

coverage, J.A. 43, and concede that at least 70,515 women will lose coverage, J.A. 43, 91.

       The Agencies have failed to provide a reasoned explanation, much less a detailed

justification, for reversing course here. To the contrary, their conclusions “run[] counter to the

evidence before the agency.” State Farm, 463 U.S. at 43. The Agencies cannot manufacture a

scientific controversy and then use the existence of that false controversy to justify sweeping

regulatory changes.

       For one, the Agencies claim that the existence of side effects associated with some forms

of contraception indicates that “significantly more uncertainty and ambiguity exists on these

issues.” J.A. 20. But in doing so, the Agencies arbitrarily treat all 18 forms of contraception

categorically. Cf. J.A. 2344 (“No one product is best for everyone. Some methods are more

effective than others at preventing pregnancy.”). They misrepresent the fact that any medication

will have side effects and any medication can be contraindicated for patients with certain medical

conditions. This is exactly why the Agencies had previously concluded that “[i]t is for a woman

and her health care provider in each particular case to weigh any risks against the benefits in

deciding whether to use contraceptive services in general or any particular contraceptive

service.” J.A. 242. The Agencies point to no new evidence suggesting that all 18 forms of

contraception are all categorically unsafe for women, nor any evidence countermanding their

prior conclusion that unintended pregnancy is a health risk for women. They ignore the FDA’s

undisputed determinations that the 18 approved methods of contraception are “proven safe and



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effective,” Ex. 148, even though all methods of contraception, like all medical services, must be

individually prescribed. J.A. 2344 (“No one product is best for everyone. . . . This page lists

FDA-approved and cleared methods for birth control. Talk to your healthcare provider about the

best method for you.”). And they ignore the overwhelming consensus of the medical community

in support of contraception’s safety and efficacy. E.g. J.A. 628, 631–32, 641, 643, 647–48, 650–

51, 659. The Agencies’ newfound “uncertainty and ambiguity,” J.A. 20, therefore, is flatly

unreasonable and arbitrary.

       The Agencies also use the assertion by some commenters that certain forms of

contraception are “abortifacients” to justify their conclusions on the “health effects of

contraception and pregnancy.” J.A. 19. But while such personal religious beliefs are relevant to a

claim under RFRA, they do not provide a basis for the Agencies to make new factual findings

about the “health effects” of contraception, particularly where those findings contradict the

Agencies’ earlier assertions. J.A. 257 (“FDA-approved contraceptive methods, including Plan B,

Ella, and IUDs, are not abortifacients within the meaning of federal law.”). Indeed, Defendant

HHS defines pregnancy as “the period of time from implantation until delivery,” 45 C.F.R.

§ 46.202(f)—a definition shared by the medical community. E.g., J.A. 712 (noting that since

1965, ACOG has recognized that “the establishment of a pregnancy takes several days and is not

completed until a fertilized ovum is implanted in the lining of the woman’s uterus.” (citations

omitted)). As ACOG and many other commenters stated, “[e]very FDA-approved contraceptive

method acts before implantation, does not interfere with an existing pregnancy, and is not

effective after a fertilized egg has implanted successfully in the uterus.” J.A. 647 (citations

omitted); see, e.g., 62 Fed. Reg. 8610, 8611 (Feb. 25, 1997) (conclusion by the FDA that

“[e]mergency contraceptive pills are not effective if the woman is pregnant” and have no



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“adverse effect on the fetus” if taken when a women is pregnant). The Agencies have presented

no evidence to support a redefinition of pregnancy, rendering this analysis arbitrary and

capricious.13

       In addition, the Agencies decline to “take a position on the empirical question of whether

contraception has caused certain reductions in teen pregnancy,” yet use purported ambiguity over

this empirical question to conclude that “it is difficult to establish causation between granting

religious exemptions to the contraceptive Mandate and either an increase in teen pregnancies in

particular, or unintended pregnancies in general.” J.A. 19. But Defendant HHS ignores its own

conclusion that the 63 percent decline in teen pregnancy between 1990 and 2013 “is due to the

combination of an increased percentage of adolescents who are waiting to have sexual

intercourse and the increased use of effective contraceptives by teens.” Ex. 152 (citations

omitted). The studies cited by the Agencies do not suggest otherwise: that other factors have

influenced the undisputed decline in teen pregnancy does not obviate the role of increased access

to contraception, and that many women who had abortions were using contraception when they

got pregnant only reinforces the problem of inconsistent use of less effective methods. Cf. J.A.

19–20. The Agencies’ lack of evidence indicates that any “uncertainty and ambiguity” over the

effectiveness of contraception is manufactured.

       Finally, the Agencies summarily conclude that the Rules “are not likely to have negative

effects on the health or equality of women nationwide,” after again declining to take a position

on “those evidentiary issues.” J.A. 21. But the Agencies fail to provide any evidence



       13
           The Agencies also misrepresent how the FDA itself describes several methods of
contraception. J.A. 19 n.39. The FDA notes that several forms of contraception “may also work .
. . by preventing attachment (implantation) to the womb (uterus).” J.A. 2363. The Agencies
insert the words “of a human embryo after fertilization,” which the FDA did not use. See id.

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contradicting their earlier conclusions that contraception “improves the social and economic

status of women” and that contraceptive coverage without cost sharing is necessary to eliminate

the “financial barriers that prevented women from achieving health outcomes on an equal basis

with men.” Facts ¶¶ 37–47. Moreover, the Agencies provide no source supporting any ambiguity

over the impact of contraception or the mandate on unintended pregnancy, and their only source

for claiming that state mandates “have not necessarily lowered rates of unintended pregnancy (or

abortion) overall” is a law review article, not a research study. J.A. 20 & n.53. The Agencies

ignore several comments proving that Colorado’s contraceptive mandate reduced the unintended

pregnancy and abortion rate, J.A. 799–800, 807, 1330—claiming instead that no commenter

provided empirical data about state contraceptive equality mandates, J.A. 20. They also ignore

comments showing that the contraceptive mandate has allowed women to choose longer-term

and more effective forms of contraception, which decreases the risk of unintended pregnancies.

E.g., J.A. 1033, 1125; 1151–52, 1329–30.

                                          *       *      *

       The Agencies have failed to provide a reasoned explanation—much less a detailed

justification—for their newfound suppositions that contraception is not safe, effective, and

beneficial for women. See Fox Television Stations, Inc., 556 U.S. at 515. The Rules, which rest

on these shifting sands, are therefore arbitrary and capricious.

       B. The Agencies Failed to Consider Other Significant Comments.

       Of the 110,000 comments recognized by the Agencies, only 27 comments (representing

17 unique individuals or organizations) supported the religious and moral exemptions. Facts

¶¶ 48–54, Exs. 106–120. Put differently, only 0.025% of comments supported the Rules; 99.96%

opposed them. Yet the Agencies nowhere acknowledge this significant disparity, nor do they

modify the exemptions in any way to increase contraceptive coverage for women. Instead, the
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Agencies treat these 27 comments as bearing equivalent weight to the more than 109,950

comments opposing the Rules.

        The Agencies also ignore several other comments of significance:

       The American medical community—including the American Academy of Family
        Physicians (Ex. 23), the American Academy of Nursing (Ex. 24), the American College
        of Nurse-Midwives (Ex. 25), the American College of Physicians (Ex. 26), the American
        Congress of Obstetricians and Gynecologists (ACOG) (Ex. 27), the American Academy
        of Pediatrics (Ex. 27), the Society for Adolescent Health and Medicine (Ex. 27), and the
        American Public Health Association (Ex. 28) 14—unequivocally opposed the Rules as
        anti-science and harmful to women. But the Agencies nowhere acknowledge the elevated
        importance of comments by medical professionals in Rules impacting the medical needs
        of women.

       Many commenters explained that other state- and federal-funded programs cannot meet
        an increased need for contraceptive coverage. E.g., J.A. 600–02, 634–37, 653, 660–61,
        1065–66, 1184–86, 1337–39, 1355–56, 1463–65. In particular, commenters stated that
        Title X is insufficiently funded to meet existing needs, much less absorb an increase from
        women who lose access due to objecting employers. E.g., J.A. 600–02, 634–37, 653,
        660–61, 1065–66, 1184–86, 1337–39, 1355–56, 1463–65. But the Agencies ignored these
        concerns, insisting only that then-proposed changes to Title X “could further reduce any
        potential effect of these final rules on women’s access to contraceptives.” J.A. 16. 15

       The contraceptive mandate required coverage not just for contraceptive methods but for
        contraceptive counseling. A number of commenters noted the specific importance of
        contraceptive counseling, “during which an individual could discuss her specific health
        history and contraceptive needs in private with a healthcare provider.” J.A. 1184; see,
        e.g., J.A. 1222, 1167. As the IOM Report adopted by the Agencies recognized,
        “[e]ducation and counseling are important components of family planning services
        because they provide information about the availability of contraceptive options,
        elucidate method-specific risks and benefits for the individual woman, and provide
        instruction in effective use of the chosen method.” J.A. 432. In the Rules, the Agencies
        note only that “[s]ome commenters lamented that exemptions would include exemption
        from the requirement to cover contraception counseling,” J.A. 21. They focus only on the
        financial cost of losing coverage for contraceptive methods, failing entirely to examine
        how the inability to even discuss contraception will impact women.




        14
             See supra.
        15
             The final Title X rules ultimately eschewed these proposed changes. See supra note 10.

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       Failure to address significant comments, as the Agencies did here, is fatal to an agency’s

defense. Duncan, 681 F.3d at 449.

       C. The Agencies’ Regulatory Impact Analysis is Arbitrary and Capricious.

       The Agencies estimated that at least 70,515 and at most 126,400 women will lose

contraceptive coverage when their employers claim exemptions under the Rules. Facts ¶¶ 61–96.

Although nominally used to calculate the annual financial impact of the final Rules, the Agencies

also use these figures to support their narrative that the Rules will have only a minimal impact.

E.g., J.A. 16 n.26. But the Agencies reached their estimates by relying on a series of unsupported

assumptions and omissions. This failure to articulate “a rational connection between the facts

found and the choice made” renders their analysis arbitrary and capricious. See Prometheus

Radio Project, 652 F.3d at 469 (quoting State Farm, 463 U.S. at 43).

       First, the Agencies ignore that an individual who objects to contraceptive coverage—

whether under the individual exemption; because he or she shares a moral objection with his or

her employer, J.A. 90; or because he or she is self-employed, Facts ¶ 89—will cause his or her

female dependents to also lose coverage. Ex. 149 ¶ 17. Yet the Agencies explicitly assume that

each individual policyholder has at least one dependent, J.A. 41, and acknowledge that the

individual exemption extends “to family coverage covering the participant and his or her

beneficiaries enrolled under the plan,” J.A. 33. If the Agencies could estimate that 15 women

would lose coverage due to the moral exemption, J.A. 92, there is no reason to ignore the impact

on female dependents of objecting individuals.

       Second, the Agencies continue to assume that only 209 employers are using the

accommodation—despite admitting that the number of persons covered by accommodated plans

more than doubled from 2015 to 2017. In the Religious Exemption IFR, the Agencies used 2015

numbers to estimate that 1,027,000 employees and beneficiaries were covered by insurance plans
                                                 38
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from 209 accommodated entities. J.A. 124–126. In the final Rules, however, the Agencies used

2017 numbers to estimate that 2,907,000 employees and beneficiaries were covered by

accommodated insurance plans. Yet the Agencies continued to use an estimate of 209

accommodated entities, J.A. 41–42—as if each entity more than doubled their staff in just two

years. Assuming that each policyholder has only one dependent (as the Agencies do, J.A. 41),

these 209 accommodated entities employed 1,453,500 employees in 2017—an average of nearly

7,000 employees each. Basic math reveals the irrationality of the Agencies’ assumption.

        Third, the Agencies assume without basis that the majority of persons currently working

for an accommodated employer will not lose contraceptive coverage. They speculate that 100 of

the 209 entities using the accommodation will continue to do so in spite of the new exemptions,

and that these 100 entities represent 75 percent of all persons covered by accommodated plans.

J.A. 41–42. Both assumptions rest on the thin reed that religious hospitals will continue to use

the accommodation. J.A. 42. But the Agencies cite only a handful of statements made prior to

October 2017; they point to no employer who commented or otherwise committed to continue

using the accommodation in spite of the new exemptions. Given the Agencies’ impassioned

articulation of the religious liberty interests at state, there is no reason not to think all

accommodated employers will adopt the new exemptions, which would impact at least 256,025

women.16

        Finally, the Agencies arbitrarily cut the purported upper bound of women effected by the

Religious Rule by two thirds. The Agencies first painstakingly marched through sourced

statistics in order to estimate that 379,000 women of childbearing age who use contraception



        16
         2,907,000 covered persons * 20.2% women of childbearing age * 43.6% of women
using contraception covered by the Guidelines. See Facts ¶ 67.

                                                    39
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work for private, non-publicly traded employers that did not cover contraception pre-ACA, are

not self-insured church plans, and are not exempt under the Church Exemption. Facts ¶¶ 88–95.

But the Agencies then concluded, without any reasonable explanation, that only one third of

these women work for employers who would actually qualify for the new religious exemption.

J.A. 45. This speculation is especially arbitrary because the Agencies had already incorporated

the 6% of employers who knew they did not offer contraception coverage pre-ACA—compared

to the 31% who did not know whether they did or not—precisely because they felt this

knowledge suggested a sincerely held religious objection to contraception. J.A. 44 & n.103. The

Agencies also entirely neglect to conduct this analysis for the final Moral Exemption Rule,

apparently assuming (without saying so) that no employer pre-ACA declined to offer

contraceptive coverage for moral reasons. J.A. 92.

        In sum, the Agencies’ assumptions, omissions, and arbitrary speculations render their

economic assessment of the Rules arbitrary and capricious.

III.    The Agencies Violated the APA’s Procedural Requirements (Count III)

        The APA sets forth clear procedural requirements that an agency must follow in issuing a

new rule. See 5 U.S.C. § 553(b)–(d). Among other requirements, the agency must publish a

“[g]eneral notice of proposed rule making” in the Federal Register, which “shall include (1) a

statement of the time, place, and nature of public rule making proceedings; (2) reference to the

legal authority under which the rule is proposed; and (3) either the terms or substance of the

proposed rule or a description of the subjects and issues involved.” Id. § 553(b). Only after

accepting and considering comments on the proposal may the agency publish a final rule, which

must contain a “concise general statement of [the rule’s] basis and purpose.” Id. § 553(c).

        It is undisputed that the Agencies did not follow these requirements prior to issuing the

IFRs. In fact, the IFRs became effective as soon as they were posted on the internet, which was a
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full week before they were even published in the Federal Register. At the time, the Agencies

argued that they were granted specific statutory authority to disregard notice-and-comment

rulemaking, or, in the alternative, that they had “good cause” to do so. J.A. 119–20. In the final

Rules, they repeat the first argument and briefly mention the second, but provide no support for

it. J.A. 17. And they claim that, in addition, the fact that the Agencies accepted comments

between the issuance of the IFRs and the issuance of the final Rules excuses any earlier

procedural failures. J.A. 17. None of these arguments is valid. See 281 F. Supp. 3d at 571–76

(rejecting first two arguments); 351 F. Supp. 3d at 812–16 (rejecting third).

       First, the Agencies claim express statutory authority from a provision of the Health

Insurance Portability and Accountability Act of 1996 (HIPAA), Pub. L. No. 104–191 (1996),

which was codified in the Internal Revenue Code, ERISA, and the PHSA, as was the Women’s

Health Amendment fourteen years later. See 29 U.S.C. § 1191c; 26 U.S.C. § 9833; 42 U.S.C.

§ 300gg-92. In each case, the relevant language provides that the respective Secretary “may

promulgate any interim final rules as the Secretary determines are appropriate to carry out this

subchapter.” 42 U.S.C. § 300gg-92; 29 U.S.C. § 1191c; 26 U.S.C. § 9833. 17 But the APA

provides that a “[s]ubsequent statute may not be held to supersede or modify this subchapter . . .

except to the extent that it does so expressly.” 5 U.S.C. § 559. The language in HIPAA relied on

by the Agencies says nothing about notice-and-comment procedures, and the reference to

“interim final rules” falls well short of the “express[]” modification of the APA’s procedural

requirements required by section 559. See Asiana Airlines v. F.A.A., 134 F.3d 393, 397 (D.C.

Cir. 1998) (Section 559 is satisfied only in “Congress has established procedures so clearly



       17
         “Subchapter” is replaced with “chapter” and “part” in ERISA and the Internal Revenue
Code, respectively.

                                                 41
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different from those required by the APA that it must have intended to displace the norm.”). The

Agencies made precisely the same argument in Coalition for Parity, Inc. v. Sebelius, 709 F.

Supp. 2d 10, 18 (D.D.C. 2010), and that court correctly rejected it, as did this Court in granting

the States’ first motion for a preliminary injunction, 281 F. Supp. 3d at 571-72.

        Second, the Agencies asserted in the IFRs that they satisfied the “good cause” exception

under the APA, which allows an agency to bypass notice and comment when it “for good cause

finds (and incorporates the finding and a brief statement of reasons therefor in the rules issued)

that notice and public procedure thereon are impracticable, unnecessary, or contrary to the public

interest.” 5 U.S.C.A. § 553. That exception, however, “is to be ‘narrowly construed and only

reluctantly countenanced.’” Util. Solid Waste Activities Grp. v. E.P.A., 236 F.3d 749, 754 (D.C.

Cir. 2001) (citation omitted). It is not an “‘escape clause[]’ that may be arbitrarily utilized at the

agency’s whim,” but instead “should be limited to emergency situations.” Am. Fed’n of Gov’t

Emp., AFL-CIO v. Block, 655 F.2d 1153, 1156 (D.C. Cir. 1981) (citing S. Rep. No. 79-752

(1945)). In the final Rules, the Agencies fail to offer any explanation for why they had good

cause. And, regardless, the justifications offered in the IFRs—which include the existence of

“extensive litigation” over the mandate and the need to resolve “uncertainty”—do not represent

the type of “emergency situation[]” under which the exception applies. See 281 F. Supp. 3d at

572–76 (rejecting good cause argument); United States v. Reynolds, 710 F.3d 498, 510 (3d Cir.

2013) (“The desire to eliminate uncertainty, by itself, cannot constitute good cause [under the

APA]. To hold otherwise would have the effect of writing the notice and comment requirements

out of the statute.”).

        Finally, the Agencies argue that the Rules “comply with the APA’s notice and comment

requirements” because they were issued “after receiving and thoroughly considering public



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comments” following the IFRs. J.A. 17. But the Third Circuit has rejected this argument, holding

that the “provision of post-promulgation notice and comment procedures cannot cure the failure

to provide such procedures prior to the promulgation of the rule at issue.” NRDC v. EPA, 683

F.2d 752, 768 (3d Cir. 1982).18

       NRDC involved a challenge to a decision by EPA, announced in March 1981 without a

prior opportunity for comment, to indefinitely postpone the effective date of several duly

promulgated regulatory amendments. 683 F.2d at 756. Several months later, EPA announced that

it would be terminating the indefinite postponement, effective January 31, 1982, while it

simultaneously initiated a rulemaking proceeding and solicited comments on whether to extend

the postponement beyond that date. Id. at 757. After receiving and reviewing comments, EPA

announced that all but four of the amendments would go into effect January 31, 1982, while the

remaining four would be further postponed. Id.

       The NRDC court reviewed EPA’s justifications for foregoing notice-and-comment

rulemaking with respect to the initial postponement—including that the agency had “good

cause,” id. at 764—and found that they were lacking. It then turned to the question of remedy,

addressing EPA’s argument that its acceptance of post-promulgation comments cured its original

failure to follow the APA. Id. at 767. The court rejected this argument and, as a result, elected to

invalidate not only the original indefinite postponement, but, relevant here, the subsequent

postponement of the four amendments that was issued after notice and comment. Id. (ruling that

“the further postponement of the four amendments as of January 31, 1982, was ineffective”).




       18
        The Courts of Appeals have taken different approaches to this question. See Kristin E.
Hickman & Mark Thomson, Open Minds and Harmless Errors: Judicial Review of
Postpromulgation Notice and Comment, 101 Cornell L. Rev. 261 (2016).

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       NRDC relied on the Third Circuit’s decision in Sharon Steel Corp. v. E.P.A., which

explained: “Provision of prior notice and comment allows effective participation in the

rulemaking process while the decisionmaker is still receptive to information and argument.” 597

F.2d 377, 381 (3d Cir. 1979). The logic applies with equal force here. By foregoing notice and

comment prior to issuing the IFRs, the Agencies forced commenters to “come hat-in-hand and

run the risk that the decisionmaker is likely to resist change.” Id. Here, the record demonstrates

that the Agencies did, in fact, “resist change.” Despite the fact that only 27 of the comments

received supported the Rules and that numerous medical organizations and other experts

submitted comments identifying serious problems with them, see supra Part II.B, the Agencies

made almost no substantive changes following the comment period.

       The concerns expressed in NRDC and Sharon Steel were particularly acute in this case,

because the Agencies were simultaneously defending the IFRs in litigation while purporting to

“thoroughly consider[]” comments on the same IFRs. Thus, they were challenging in court

specific arguments about legality of the IFRs, while simultaneously claiming to consider with an

open mind comments raising many of the same arguments. Compare 281 F. Supp. 3d at 579

(discussing the Agencies’ argument that “the textual structure of the ACA permits HHS to

proscribe the ‘manner or reach of the coverage’”); with J.A. 5 (rejecting argument that the

language of the ACA does not grant the Agencies such authority); compare 281 F. Supp. 3d at

553 (discussing the Agencies’ claims that RFRA authorized the exemptions); with J.A. 9–10

(rejecting argument that RFRA did not grant the Agencies discretion to create additional

exemptions). The situation the Agencies found themselves in—making certain arguments in

court, while simultaneously claiming to keep an open mind about the validity of those same

arguments—is entirely a result of their decision to forego notice and comment before issuing the



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IFRs, and underscores the seriousness of the concerns expressed by the Third Circuit in NRDC

and Sharon Steel.

       Accepting the Agencies’ arguments would authorize federal agencies “to substitute post-

promulgation notice and comment procedures for pre-promulgation notice and comment

procedures at any time by taking an action without complying with the APA, and then

establishing a notice and comment procedure on the question of whether that action should be

continued,” which “would allow agencies “to circumvent Sharon Steel and the APA.” NRDC,

683 F.2d at 768. For good reason, the Third Circuit concluded, “We cannot countenance such a

result.” Id.; see also Hickman & Thomson, supra, at 286 (“[G]iving effect to postpromulgation

rulemaking would undoubtedly provide a powerful disincentive for agencies to comply with

§ 553’s prepromulgation notice and comment requirements when they seek to bind the actions of

regulated parties.”).

IV.    The Rules Must be Vacated

        A reviewing court shall “hold unlawful and set aside” agency action that is “contrary to

law” or otherwise violates the requirements of the APA. 5 U.S.C. § 706(2). 19 This section

requires that the Rules here be vacated. Although some courts have recognized circumstances

under which rules that violate the APA should be remanded without vacatur, “neither the

Supreme Court nor the Third Circuit has held that the APA permits a court to remand an invalid


       19
            Relevant here, this requirement applies to agency action that is:
       (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
       with law;
       (B) contrary to constitutional right, power, privilege, or immunity;
       (C) in excess of statutory jurisdiction, authority, or limitations, or short of
       statutory right; [or]
       (D) without observance of procedure required by law….
5 U.S.C. § 706(2). The Rules are invalid under each of these criteria.

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regulation without first vacating the regulation.” Comite de Apoyo a los Trabajadores Agricolas

v. Solis, 933 F. Supp. 2d 700, 714 (E.D. Pa. 2013); see also Council Tree Commc’ns, Inc. v.

F.C.C., 619 F.3d 235, 258 n.13 (3d Cir. 2010) (“express[ing] no view as to whether [the court is]

authorized to order” remand without vacatur).20 Rather, “Section 706(2)’s seemingly mandatory

language” requires vacatur if the agency action violates the requirements of that section. Comite

de Apoyo, 933 F. Supp. 2d at 714.

       Even if this court were authorized to consider other remedies upon a finding of an APA

violation, vacatur is appropriate here. The deficiencies of the Rules are “serious,” and could not

be easily corrected on remand. See Council Tree, 619 F.3d at 258 (relying on “seriousness” of

APA violations in concluding “even assuming we have the authority to remand the matter

without vacatur, we would decline to do so here.”). Moreover, because the Rules are already

enjoined, the “disruptive consequences” of vacatur would be limited. See id. This Court has on

two previous occasions concluded that the harms from the Rules were serious enough to warrant

the “extraordinary remedy,” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008), of a

preliminary injunction. See 351 F. Supp. 3d at 827–30; 281 F. Supp. 3d at 581–85. Those

findings remain valid today. Cf. City of Philadelphia v. Sessions, 309 F. Supp. 3d 289, 340 (E.D.

Pa. 2018), aff’d in part, vacated in part sub nom. City of Philadelphia v. Attorney Gen. of United

States of Am., 916 F.3d 276 (3d Cir. 2019) (“The Court’s finding of irreparable injury from the

preliminary injunction stage remains equally applicable at the permanent injunction stage.”)

(cleaned up).




       20
         Council Tree did note that the agency defendant had “cite[d] to a case in which [the
Third Circuit] remanded without vacatur, albeit without commenting on the issue.” 619 F.3d
235, 258 n.13 (citing Am. Iron & Steel Inst. v. EPA, 568 F.2d 284, 310 (3d Cir. 1977)).

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                                        CONCLUSION

       For the reasons set forth above, the States’ Motion for Summary Judgment should be

granted and the Rules vacated.

 May 15, 2019                                  Respectfully submitted,

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